               IN THE DISTRICT COURT OF THE UNITED STATES
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          BRYSON CITY DIVISION
                                2:13 CR 12-4


UNITED STATES OF AMERICA,                    )
                                             )
Vs.                                          )            ORDER
                                             )
TARYN KRISTA ELIZBETH                        )
TOINEETA RATTLER,                            )
                                             )
                 Defendant.                  )
____________________________________         )


        THIS CAUSE came on to be heard before the undersigned upon a Violation

Report (#150) filed in the above entitled cause on April 4, 2014 by the United

States Probation Office. The matter also come on to be heard pursuant to an Order

(#136) entered by this Court directing that the Defendant appear on April 2, 2014

to determine whether or not Defendant would continue to be released on terms and

conditions of pretrial release. At the call of this matter on for hearing it appeared

Defendant was present with her counsel, Ronald Justice, and the Government was

present through Assistant United States Attorney, Tom Ascik, and from the

evidence offered and from the statements of the Assistant United States Attorney

and the attorney for Defendant, and the records in this cause, the Court makes the

following findings.



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      Findings:      At the call of the matter, the Defendant, by and through her

attorney, denied the allegation contained in the Violation Report. The Government

introduced, without objection, the Violation Report into evidence. Testimony was

then presented by the Government through Mark D. Corbin, United States

Probation Officer.

      Defendant was charged in a bill of indictment (#1) with conspiracy to traffic

in a schedule I controlled substance, that being marijuana; schedule II controlled

substances; that being Oxycodone and cocaine; and a schedule IV controlled

substance, that being alprazolam, all in violation of 21 U.S.C. § 846. In January of

2014 Defendant was released on terms and conditions of pretrial release by this

Court based upon the undersigned finding that exceptional circumstances existed

which was the expected birth of Defendant’s child who was to be born during the

month of February 2014.       The undersigned released Defendant on terms and

conditions of presentence release on January 17, 2014. The terms and condition of

presentence release included the following:

      (1)   That Defendant shall not commit any offense in violation of federal,

            state or local law while on release in this case;

      (8)(p)Defendant shall refrain from use or unlawful possession of a narcotic




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             drug or other controlled substances defined in 21 U.S.C. § 802, unless

             prescribed by a licensed medical practitioner.

      Defendant had been ordered by the undersigned to appear on April 2, 2014

to determine whether or she would be continued on terms and conditions of pretrial

release. Defendant did not appear on April 2,2014 and a warrant for her arrest was

issued by this Court.

      United States Probation Officer Mark Corbin testified that Defendant had

been arrested on March 24, 2014 based upon allegations that she had violated

terms and conditions of state probation. The Defendant was transported to the

Jackson County Jail in Sylva, North Carolina. After Defendant had been placed in

the detention center a search was made of the body of Defendant and it was

discovered that Defendant had contained, in a personal area of her body, a plastic

bag containing 6.5 grams of marijuana. Defendant was then charged on March 26,

2014 in Jackson County, North Carolina with having a controlled substance while

she was an inmate at the Jackson County Detention Center in violation of N.C.G.S.

§ 90-95(E)(9). Introduced into evidence by the Government as Government’s

Exhibit “1” was a copy of the warrant and a copy of an Incident/Investigation

Report in which Deputy Ernest A. Scherman set forth the facts in regard to the

search of Defendant by a female officer. The bag containing the marijuana was


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delivered to Deputy Scherman and he identified the substance located in the bag,

through his training and experience, as being marijuana.            Deputy Scherman

interviewed the Defendant and she stated that a male at her household had told her

to hide the marijuana on her body, and the Defendant did not mention the

marijuana to the detention officers because she believed she would be able to bond

out of jail quickly, without being searched.

       Discussion. 18 U.S.C. § 3148(b)(1) provides as follows: The judicial officer

shall enter an order of revocation and detention if, after a hearing, the judicial

officer -----

       (1)    finds that there is----
              (A) probable cause to believe that the person has committed a
       Federal, State, or local crime while on release; or
              (B) clear and convincing evidence that the person has violated any
        other condition of release; and
       (2) finds that ---
              (A) based on the factors set forth in section 3142(g) of this title, there
       is no condition or combination of conditions of release that will assure that
       the person will not flee or pose a danger to the safety of any other person or
       the community; or
              (B) the person is unlikely to abide by any condition or combination
       of conditions of release.

      If there is probable cause to believe that, while on release, the person
committed a Federal, State, or local felony, a rebuttable presumption arises that no
condition or combination of conditions will assure that the person will not pose a
danger to the safety of any other person or the community.




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      Based upon the evidence, the undersigned finds there is probable cause to

believe that Defendant committed a state felony while on release, that being a

violation of N.C.G.S. § 90-(E)(9), or being possession of a controlled substance

on prison/jail premises, which is a Class (H) felony. Due to the fact there is

probable cause to believe that Defendant committed a state felony, a rebuttable

presumption arises, pursuant to 18 U.S.C. § 3148, that no condition or combination

of conditions would assure that Defendant would not pose a danger to the safety or

any other person or the community.

      There has further been shown by clear and convincing evidence that

Defendant violated the term and condition of release that states she shall refrain

from use or unlawful possession of a narcotic drug unless it was prescribed by a

license medical practitioner. Defendant has clearly violated this condition by

possessing marijuana which is a drug which is not prescribed by licensed medical

practitioners.

The undersigned further finds that Defendant violated the terms and conditions of

release by failure to appear on April 2, 2014 at the hearing which was scheduled by

this Court concerning her terms and conditions of release.

      Due to the findings made above and further considering the presumption that

has been created and also considering the factors as set forth under 18 U.S.C. §


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3142(g), it appears there is no condition or combination of conditions of release

that will assure that Defendant will not pose a danger to the safety of any other

person or the community. It is the opinion of the undersigned that based upon

Defendant’s actions, it is unlikely that Defendant will abide by any condition or

combination of conditions of release. As a result of the above referenced findings,

the undersigned has determined to enter an order of revocation revoking the

unsecured bond and the terms of presentence release previously issued in this

matter and entering an order detaining Defendant.

                                     ORDER

      IT IS, THEREFORE, ORDERED that the unsecured bond and terms and

conditions of pretrial release entered in this matter are hereby REVOKED and it is

ORDERED that Defendant be detained pending sentencing and further

proceedings in this matter.

                                              Signed: April 10, 2014




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